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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AMY PHILLIPS,

               Plaintiff,

      v.                                               Civil Action No. 22-277 (JEB)

DISTRICT OF COLUMBIA,

               Defendant.


             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
           OF DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

                                        INTRODUCTION

       Plaintiff Amy Phillips’s challenge to the District of Columbia’s (the District) handling of

her Freedom of Information Act (FOIA) request should be dismissed for lack of subject matter

jurisdiction and a failure to state a claim for relief. She alleges that the Metropolitan Police

Department (MPD) has a policy or practice of treating FOIA requests from certain individuals—

individuals who are purportedly on a “watchlist” created by former MPD Chief Peter Newsham—

differently than the requests of other individuals (the “watchlist policy”).

       As a threshold matter, plaintiff lacks standing under Article III because she has not alleged

an imminent injury. Plaintiff fails to allege that she has any FOIA requests pending with MPD or

that she intends to file any FOIA requests in the near future. Plaintiff’s allegation that she expects

to file unidentified requests at an unidentified time is insufficient to satisfy standing requirements

when seeking prospective relief.

       Plaintiff’s Complaint should be dismissed because it fails to state a First Amendment claim.

First, plaintiff’s claim is one of selective enforcement, which is properly analyzed under the Equal
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Protection Clause, not the First Amendment. Second, plaintiff’s claim rests on the faulty

assumption that the First Amendment entitles her to access certain government information. It does

not. The Supreme Court has established that the protections of the First Amendment do not include

the right to access any documents in the possession of the government. While some courts have

found that the First Amendment may provide a right to government documents in very limited

circumstances, none of those circumstances are present here.

       Finally, even assuming plaintiff has stated a plausible claim for relief under the First

Amendment, plaintiff cannot establish municipal liability under 42 U.S.C. § 1983 (Section 1983),

because she has not alleged that the purported violation was caused by an express policy, the

actions of a policymaker, or a custom or practice. The Court should grant the District’s motion to

dismiss.

                                             BACKGROUND

I.     The Metropolitan Police Department’s FOIA Procedure

       The District of Columbia Freedom of Information Act (FOIA), D.C. Code § 2-531 et seq.,

was passed to ensure public access to “full and complete information regarding the affairs of

government.” D.C. Code § 2-531. FOIA provides that “a public body … shall within 15 days” of

a request “reasonably describing any public record” either make the requested record available or

notify the requestor of its determination not to produce the record and the reasons for its refusal.

D.C. Code § 2-532(c)(1). If the request is for body-worn camera footage (BWC), the Metropolitan

Police Department (MPD) “shall [respond to the request] within 25 days.” D.C. Code

§ 2-532(c)(2)(A). The statute allows for extensions of the time limit for “unusual circumstances,”

provided that the requestor is given written notice “setting forth the reasons for extension and [the]

expected date for determination.” D.C. Code § 2-532(d)(1). Such extensions are limited to 15 days



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for BWC and 10 days for all other records. Id. “Unusual circumstances” includes “[t]he need to

search for, collect, and appropriately examine a voluminous amount of separate and distinct

records that are demanded in a single request.” D.C. Code § 5-532(d)(2)(A). FOIA exempts certain

categories of information from disclosure, such as personal information that, if released, “would

constitute a clearly unwarranted invasion of personal privacy.” D.C. Code § 2-534(a)(2).

       If a FOIA request is denied in whole or in part, the statute provides that the requestor can

appeal the agency’s decision to the Mayor’s office. D.C. Code § 2-537(a). Further, if the Mayor

upholds the denial or fails to respond within a statutory time limit, or if the agency continues to

withhold records after a decision by the Mayor that they must be produced, the requestor may

bring a lawsuit in D.C. Superior Court “for injunctive or declaratory relief” to secure the release

of the requested records. D.C. Code § 2-537(a)(1), (a)(2).

       MPD has created a policy and procedure to ensure compliance with the requirements of

FOIA. See General Order 204.05, Freedom of Information Act Requests, available at

https://go.mpdconline.com/GO/GO_204_05.pdf. The FOIA officer designated to handle a request

is responsible for logging the request, determining which elements of MPD are responsible for

providing records, and forwarding the request to the appropriate commanding officer. Id. at 10–11.

MPD’s policy also reiterates the process by which a requestor can appeal the denial of the FOIA

request to the Mayor’s office, as set out in FOIA. Id. at 12–13.

II.    Plaintiff’s 2019 FOIA Request and Related D.C. Superior Court Litigation

       In 2018, the ACLU-DC brought a lawsuit against then-MPD Officer Sean Lojacono for

unreasonable search and seizure following a September 2017 incident in which he inappropriately

conducted a search. See Patrick Madden and Miela Fetaw, ACLU Files Suit Against MPD Officer

Over     ‘Highly     Intrusive’    Search,    DCist      (July     18,   2018),    available     at



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https://dcist.com/story/18/07/18/aclu-stop-frisk-lawsuit-cottingham-dc-police-lojacono/; Compl.

¶ 20 [1]. The details of the incident and ensuing lawsuit led to a large amount of media attention

and focus on MPD’s handling of the case. Compl. ¶ 20.

       Plaintiff attended the Lojacono Adverse Action hearing as a member of the public

interested in investigating allegations of police misconduct. Compl. ¶ 11. On March 15, 2019, a

few days after the Lojacono hearing concluded, plaintiff submitted a FOIA request “for the tapes

of the proceedings and a transcript of the proceedings.” Id. ¶ 21. Plaintiff’s request was allegedly

denied in full the same day it was submitted, because the “release of such records would

constitute … a clearly unwarranted invasion of personal privacy” and the records were therefore

“exempt from disclosure.” Id. ¶ 23. Plaintiff appealed the denial of her request to the Mayor’s

Office of Legal Counsel, which ruled that MPD should release the records with applicable

redactions. Id. ¶¶ 25–26. When she had not received responsive records by June 2, 2019, plaintiff

filed suit in D.C. Superior Court for violation of FOIA. Id. ¶¶ 28–29. Plaintiff states that the

District “began producing documents responsive to [her] requests,” with redactions she “believed

were unwarranted,” on September 26, 2019. Id. ¶ 32. The Superior Court case continued until

plaintiff voluntarily dismissed her lawsuit with prejudice on January 12, 2022. Id.

III.   Plaintiff’s Allegations In This Lawsuit

       Plaintiff filed her Complaint in this case on February 2, 2022, alleging that MPD has a

policy of treating certain FOIA requests differently based on the identity of the requestor or subject

matter of the request by providing “special review by high-ranking officials.” Compl. ¶ 1.

Specifically, plaintiff alleges that her 2019 FOIA request for a transcript was improperly handled,

in accordance with that policy. Id. ¶¶ 21, 82–84. Plaintiff argues that MPD’s differential treatment

of certain FOIA requests amounts to a violation of the First Amendment’s prohibition on content



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and viewpoint discrimination. Id. ¶ 91. Plaintiff seeks declaratory and injunctive relief, as well as

nominal damages and attorney’s fees and costs. Id. at 19.

                                            LEGAL STANDARD

I.      Motion to Dismiss for Lack of Subject Matter Jurisdiction

        On a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1), the plaintiff bears

the burden of demonstrating that the court’s jurisdiction is proper by a preponderance of the

evidence. Khadr v. United States, 529 F.3d 1112, 1115 (D.C. Cir. 2008). “[S]ubject matter

jurisdiction is, of necessity, the first issue for an Article III court.” Loughlin v. United States, 393

F.3d 155, 170 (D.C. Cir. 2004). “If the court determines at any time that it lacks subject-matter

jurisdiction, the court must dismiss the action.” Fed. R. Civ. P. 12(h)(3).

II.     Motion to Dismiss for Failure to State a Claim

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

A claim is facially plausible “when the plaintiff pleads factual content that allows the court to draw

[a] reasonable inference that the defendant is liable for the misconduct alleged.” Id. (quoting

Twombly, 550 U.S. at 556). “While legal conclusions can provide the framework of a complaint,

they must be supported by factual allegations.” Id. at 679. “[A] complaint [does not] suffice if it

tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id. at 678 (quoting

Twombly, 550 U.S. at 557).

        In evaluating a motion under Rule 12(b)(6), the Court “may consider … the facts alleged

in the complaint, any documents either attached to or incorporated in the complaint, and matters

of which [the Court] may take judicial notice.” EEOC v. St. Francis Xavier Parochial Sch., 117

F.3d 621, 624 (D.C. Cir. 1997); Laughlin v. Holder, 923 F.Supp.2d 204, 209 (D.D.C. 2013).
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                                                ARGUMENT

I.     Plaintiff Lacks Standing Under Article III Because She Fails To Allege the Likelihood
       of Future Injury.

       Plaintiff bears the burden of proving that this Court has jurisdiction to hear her claim. Nat’l

Sec. Counselors v. CIA, 931 F. Supp. 2d 77, 89 (D.D.C. 2013). Plaintiff must therefore allege facts

showing that she has “suffered an ‘injury in fact’, i.e., ‘an invasion of a legally protected interest,

which is (a) concrete and particularized, and (b) actual or imminent, not conjectural or

hypothetical.’” Id. at 91 (quoting Lujan v. Defendants of Wildlife, 504 U.S. 555, 560 (1992)).

However, “when a plaintiff seeks prospective declaratory or injunctive relief, allegations of past

harms are insufficient.” Id. Instead, a plaintiff must allege that she is “likely to be subjected to the

policy again.” Id. “This threat must be ‘real and immediate,’ or alternatively, ‘realistic’ in nature.”

Id. (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 102 1983)). A court “may not hear a claim

for equitable relief that rests solely on a ‘speculative claim of future injury.’” Tipograph v. Dep’t

of Justice, 146 F. Supp. 3d 169, 175 (D.D.C. 2015) (quoting Lyons, 461 U.S. at 111); accord

Citizens for Responsibility and Ethics in Washington (CREW) v. U.S. Dep’t of Homeland Security,

527 F. Supp. 2d 101, 106 (D.D.C. 2007) (granting motion to dismiss when alleged future injuries

were “too speculative and remote” to support standing to seek prospective relief).

       Here, plaintiff seeks only prospective relief: “Phillips is subject to delays, burdens, and

denial of FOIA requests that she will file in the future because of the content and viewpoint of her

prior protected speech … .” Compl. ¶ 95 (emphasis added); id. at 19 (requesting prospective

injunctive and declaratory relief in Prayer for Relief). 1 But plaintiff does not allege that she has


1
        As explained below in Section III, plaintiff has failed to allege the existence of a current
policy as opposed to alleging a policy that previously existed under former Chief Newsham.
Plaintiff’s failure to allege the existence of a current policy also requires dismissal of her
Complaint for lack of standing.

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any FOIA requests pending with MPD or that she has any specific intent to file a FOIA request in

the near future. She alleges only that she “intends to continue her advocacy and to continue

requesting potentially sensitive records from MPD.” Id. ¶ 89. Several courts in this District have

found nearly identical allegations insufficient to establish standing for prospective relief.

       As explained by Judge Lamberth,

               [Plaintiff] does not allege anywhere in its complaint or opposition brief that
               it has a FOIA request pending with the DHS or that it intends to file a
               specific request with the DHS for WAVES records in the near future.
               Without this information, the Court cannot say that the alleged future injury
               is either real or imminent. That [plaintiff] may one day file another FOIA
               request with the DHS does not represent a cognizable, palpable injury which
               presents a case or controversy for the Court to consider.

CREW, 527 F. Supp. 2d at 106. Although in the context of a motion for summary judgment, Judge

Cooper’s analysis in Tipograph is also instructive:

               If a plaintiff does not have a separate FOIA request pending before the
               agency that would be subjected to the challenged policy or practice, then
               the specificity with which the plaintiff indicates its intent to file future FOIA
               requests is crucial. A passing allegation that a plaintiff plans to file
               additional FOIA requests to the agency in the future will not suffice to
               establish standing to pursue a pattern or practice claim.

146 F. Supp. 3d at 176 (quotations and ellipses omitted).

       Because plaintiff has failed to allege the existence of a current watchlist policy under Chief

Contee (beyond a conclusory assertion, see Compl. ¶ 52), and has failed to allege any intent to file

specific FOIA requests in the future, she has failed to establish standing to assert her claim.

II.    Plaintiff Fails To State a Claim Under the Free Speech Clause Because Her Claim Is
       Not Properly Raised Under the First Amendment, and Even If It Were, the Claim
       Fails as a Matter of Law.

       A.      Plaintiff’s Challenge to the District’s Compliance With FOIA Requirements
               Is Not Properly Raised as a First Amendment Claim.

       As a threshold matter, plaintiff has failed to state a viewpoint discrimination claim because



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it is not properly raised under the First Amendment. Plaintiff, for example, does not raise a facial

challenge to the constitutionality of FOIA but instead appears to bring an as-applied challenge,

alleging that MPD fails to comply with FOIA’s requirements when processing requests from

certain individuals or based on certain subject matters. Compl. ¶ 91. Her theory is that the District

violated the Free Speech Clause by failing to follow FOIA’s requirements for her request while

more favorably treating FOIA requests from others, see id. ¶¶ 38–52—conduct that plaintiff claims

unconstitutionally discriminates “on the basis of the content and viewpoint of speech that

requestors will voice using the requested information and on the basis of the content and viewpoint

of speech that requestors have voiced in the past.” Id. ¶ 18. Despite her reliance on the Free Speech

Clause, plaintiff’s claim is “in essence, one of selective enforcement.” Frederick Douglass Found.,

Inc. v. District of Columbia, Civil Action No. 20-03346, 2021 WL 1166841, at *16 (D.D.C. Mar.

26, 2021) (quoting Henderson v. Kennedy, 253 F.3d 12, 17–18 (D.C. Cir. 2001)).

       As this Court has found, “selective-enforcement claims are properly analyzed under the

Equal Protection Clause, not the First Amendment, even if a plaintiff alleges that the selective

enforcement occurred because the government sought to prevent the exercise of her free-speech

rights.” Id. at *5; see Sanjour v. EPA, 56 F.3d 85, 92 n.9 (D.C. Cir. 1995) (quoting LeClair v.

Saunders, 627 F.2d 606, 608 (2d Cir. 1980)) (“‘Selective enforcement’ is not, of course, a First

Amendment cause of action; rather, as the Second Circuit has aptly observed, it lies in ‘a murky

corner of equal protection law.’”). When a plaintiff alleges that the law has been selectively

applied, or failed to be applied, to her actions based on the content or viewpoint of her speech—

as plaintiff does here—that “does not transform an equal protection ‘selective enforcement’ claim

into a First Amendment ‘as-applied’ challenge.” Frederick Douglass Found., 2021 WL 1166841,

at *5 (quoting Sanjour, 56 F.3d at 92 n.9). “The critical inquiry in such cases is thus ... whether



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the government may constitutionally ‘apply’ the same rule to some individuals but not to others

similarly situated.” Sanjour, 56 F.3d at 92 n.9. Accordingly, the Court should not consider

plaintiff’s Free Speech Clause claim based on allegations of viewpoint-discriminatory

enforcement of FOIA’s requirements because her “true claim is one protesting the District’s

selective enforcement,” which is “more properly analyzed under the Equal Protection Clause.”

Frederick Douglass Found., 2021 WL 1166841, at *6.

       B.      Even If Plaintiff’s As-Applied Challenge Were Properly Raised Under the
               First Amendment, It Still Fails Because Plaintiff Does Not Have a Right To
               Access Government-Controlled Information and the District’s Compliance
               with FOIA Requirements Withstands Constitutional Scrutiny.

               1.     There Is No First Amendment Right to Access a Government Record.

       Even if plaintiff’s as-applied challenge to MPD’s compliance with FOIA requirements

when processing certain FOIA requests were cognizable under the Free Speech Clause, plaintiff

has failed to state a claim. Plaintiff contends that she has a First Amendment right to access

particular government records in a particular manner. See Compl. ¶¶ 1, 38–52 (describing MPD’s

differing internal procedures to produce responses to FOIA requests). Not so. The Supreme Court

has held that there is no First Amendment right to access government information. Houchins v.

KQED, Inc., 438 U.S. 1, 16 (1978) (plurality opinion). Even taking plaintiff’s claims as true, her

remedy lies in FOIA, not the First Amendment.

       The Supreme Court has “repeatedly made clear that there is no constitutional right to obtain

all the information provided by FOIA laws.” McBurney v. Young, 569 U.S. 221, 232 (2013)

(collecting cases). In Houchins, the Supreme Court—in a plurality opinion—found that there is no

First Amendment “right of access to government information or sources of information within the

government’s control.” Houchins, 438 U.S. at 15. Since Houchins, courts have consistently applied

the plurality’s opinion to deny First Amendment claims seeking redress for denial of government

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records. See L.A. Police Dep’t v. United Reporting Publ’g Corp., 528 U.S. 32, 40 (1999) (rejecting

First Amendment challenge based on “governmental denial of access to information in its

possession” and citing Houchins); Ctr. for Nat’l Sec. Studies v. Dep’t of Justice, 331 F.3d 918, 934

(D.C. Cir. 2003) (applying Houchins and rejecting plaintiff’s First Amendment claim to the right

to access government records concerning detained terrorism suspects); Travis v. Reno, 163 F.3d

1000, 1007 (7th Cir. 1998) (applying Houchins and finding that the First Amendment did not create

right to access motor vehicle records); Begay v. Nat’l Archives & Recs. Admin., Civil Action No.

21-782, 2021 WL 4589085, at *2 (D.D.C. Oct. 6, 2021) (granting dismissal because “plaintiff’s

claim is a statutory one about whether he is entitled to all the records he requested, not a

constitutional one about his [First Amendment] right to petition the government”). Indeed, the

question of access to government information “is a question of policy which a legislative body

might appropriately resolve one way or the other.” Houchins, 438 U.S. at 12; Fusaro v. Cogan,

930 F.3d 241, 252 (4th Cir. 2019) (explaining that “regulations on [a government record’s]

distribution reflect policy judgments to which courts must ordinarily defer”).

       At bottom, plaintiff’s Complaint is about access to government records. She only contends

that MPD failed to provide her a single government record—the Lojacono transcript—in a timely

manner, and she believes she was entitled to receive that document under FOIA. See Compl. at 18

(“The Harm to Phillips”); id. ¶¶ 82–87; Background, Section II. But FOIA governs the access to

the document plaintiff sought, and, as plaintiff acknowledges, District law provides a process for

seeking redress for District agencies’ violations of FOIA. See Compl. ¶ 26 (plaintiff appealed

MPD’s decision to the Mayor’s Office of Legal Counsel “as permitted by D.C. Law”); id. ¶ 29

(plaintiff brought suit in Superior Court “seeking an injunction requiring the District to produce

documents”); Background, Section II. In fact, plaintiff followed this procedure to challenge MPD’s



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decision to withhold the Lojacono transcript based on the personal privacy exemption, and she

received the transcript she sought after doing so. Background, Section II. Her only remaining

dispute with MPD involved the redactions in the produced transcript, but plaintiff abandoned her

challenge to MPD’s production in Superior Court, when she voluntarily dismissed her case. Id.

Plaintiff’s dispute with MPD regarding the Lojacono transcript was based on the parties’ differing

interpretations of FOIA requirements; plaintiff’s remedy would therefore implicate FOIA, not the

First Amendment.

       Additionally, the narrow exceptions to the rule that there is no First Amendment right to

access government records do not apply here. The Supreme Court has recognized a single

exception to the Houchins rule, allowing a First Amendment claim to proceed when it involves

access to records from criminal proceedings. Richmond Newspapers, Inc. v. Virginia, 448 U.S.

555, 575–77 (1980). But that has no bearing on plaintiff’s claim here. See Ctr. for Nat. Sec. Stud.

v. U.S. Dep’t of Just., 331 F.3d 918, 934 (D.C. Cir. 2003) (“The narrow First Amendment right of

access to information recognized in Richmond Newspapers does not extend to non-judicial

documents that are not part of a criminal trial ... .”). Other courts to apply the First Amendment in

cases involving access to government information have done so when a state law wholly denied

access to government information to a certain group based on its eventual speech. See, e.g.,

Lanphere & Urbaniak v. State of Colo., 21 F.3d 1508, 1513 (10th Cir. 1994) (finding the First

Amendment was implicated where a state law “disallow[ed] the release of records to those wishing

to use them for commercial speech, while allowing the release of the same records to those having

a noncommercial purpose”); Fusaro v. Cogan, 930 F.3d 241, 253 (4th Cir. 2019) (finding that the

First Amendment could be implicated when a state law denies access to government records to

certain groups and those records were closely tied to political speech). These non-binding



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decisions are clearly distinct because, here, plaintiff does not even allege that the watchlist policy

results in a categorial denial of documents; she merely alleges that the policy results in different

internal MPD procedures. See Compl. ¶¶ 38–51. Without any cognizable exception to the

Houchins rule present here, the Court should dismiss plaintiff’s Complaint because she fails to

state a claim under the First Amendment.

               2.      The District’s Application of FOIA Requirements Is Content- and
                       Viewpoint-Neutral.

       Although plaintiff contends that there is a pattern to MPD’s alleged mishandling of FOIA

requests that amounts to viewpoint discrimination, Compl. ¶ 91, this conclusion is not borne out

by the alleged facts or the law. To establish such a claim under the First Amendment, plaintiff

must show that MPD engaged in “a pattern of unlawful favoritism,” Thomas v. Chicago Park Dist.,

534 U.S. 316, 325 (2002), stemming from an official policy or custom of intentional

discrimination, see Hoye v. City of Oakland, 653 F.3d 835, 855 (9th Cir. 2011) (“[A] plaintiff must

show that a municipality’s content-discriminatory enforcement of an ordinance is the result of an

intentional policy or practice.”). Thus, plaintiff must show both that there was a “pattern” of

discriminatory enforcement and that this pattern was the product of “a governmental policy or

custom of intentional discrimination on the basis of viewpoint or content.’” 2 Frederick Douglass

Found., 2021 WL 1166841, at *9 (quoting Brown v. City of Pittsburgh, 586 F.3d 263, 294

(3d Cir. 2009)).




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         Plaintiff would also have to show that such a policy or custom exists to establish municipal
liability under 42 U.S.C. § 1983. See Monell v. Dep’t of Soc. Servs. of the City of N.Y., 436 U.S.
658, 994 (1978); Brown, 586 F.3d at 296 (holding that even if officer did not enforce ordinance
against other individual because of that individual’s viewpoint, plaintiff “would still need to show
that the officer’s inaction was the product of an unlawfully discriminatory governmental policy or
custom”). For essentially the same reasons, plaintiff fails to satisfy either of these requirements.

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       Here, plaintiff contends that the District has different procedures for processing “ordinary”

FOIA requests versus “watchlist” FOIA requests. Compl. ¶¶ 38–51. This difference in procedures,

as described in the Complaint, id., and declaration of former Inspector Vendette Parker, see

Compl., Ex. 1, does not evince a pattern of improperly handling FOIA requests based on the

requestor’s viewpoint or the content of the request. Even taking plaintiff’s allegations as true, the

alleged watchlist policy would merely involve a series of notifications that lead to MPD

leadership’s awareness and oversight of certain FOIA requests and responses. See Compl. ¶ 43

(Ms. Parker “was to send an email to Newsham and Turner in which she listed all FOIA requests

received the prior week”); id. ¶ 44 (“Parker and Turner would then have a weekly meeting” to

discuss “how to process” the requests), (“Newsham direct[ed] the department’s response” to some

flagged requests). Nothing in plaintiff’s allegations regarding the policy even suggests that the

watchlist policy procedures violate FOIA requirements. See id. ¶¶ 38–52. Thus, plaintiff has failed

to allege that any policy involved improper application of FOIA requirements.

       Moreover, there are strong practical reasons for MPD’s engagement in a process involving

MPD’s leadership for high-profile requests, and plaintiff does not show that the difference in

procedures between “ordinary” requests and “watchlist policy” requests were the result of

“intentional discrimination.” Hoye, 653 F.3d at 855. Plaintiff concedes that the alleged watchlist

policy was put in place “[t]o prevent Newsham from being so blindsided” by media questions

regarding MPD’s responses to FOIA requests. Compl. ¶ 42. Ensuring the Chief of Police is

adequately prepared to address high-profile matters in his public appearances is not a

discriminatory motive behind any differing policies for handling FOIA requests. And it is an

entirely plausible explanation, given that the alleged differences in procedures involve only

notifications to MPD leadership and oversight in the responses. Compl. ¶¶ 38–52. The fact that



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those affected by the watchlist policy tend to be litigants or journalists would also make sense,

given that their requests are often high-profile and more likely to generate media inquiries. See

Brown, 586 F.3d at 293 (finding that it is not enough to show “merely that the weight of [the

government’s] enforcement ... has tended to fall more heavily on those who advocate one

viewpoint ... than on those who advocate another”). Thus, plaintiff cannot show that the watchlist

policy evinces an intent to discriminate on the basis of the content of the request or viewpoint of

the requestor.

       Plaintiff also alleges a handful of instances in which MPD allegedly failed to properly

apply FOIA’s requirements, but, at most, plaintiff has identified mere isolated lapses of following

proper FOIA procedures, which are “neither a ‘pattern’ of enforcement activity based on content

or viewpoint, nor a showing of government ‘intent[]’ underlying the disparate application.”

Frederick Douglass Found., 2021 WL 1166841, at *9 (quoting Brown, 586 F.3d at 294); see

United States v. Barnes, Criminal Action No. 18-54, 2020 WL 4933600, at *5 (D.D.C. Aug. 24,

2020) (“Pointing to a handful of instances of allegedly inconsistent enforcement is not enough to

justify declaring [a] statute unconstitutional as applied to conduct the parties do not dispute falls

under its purview.”).

       Plaintiff’s own experience with FOIA requests is telling. Notably, plaintiff alleges that she

filed at least eight FOIA requests between 2018 and 2021. Compl. ¶ 7. And, though plaintiff

alleges that she is on the watchlist and at least several of those requests involved subject matters

that could lead to adverse treatment, she only alleges that one of her requests—the request for the

Lojacono transcript—was improperly handled. 3 See id. ¶¶ 1, 8, 9, 24, 25. A single instance of



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       To the extent plaintiff believes she was improperly denied an “index specifying the
withheld records and the applicable exemptions” in response to her FOIA request seeking emails


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alleged impropriety does not show a pattern of mistreatment. Moreover, there is a plausible reason

underlying MPD’s initial decision not to release the Lojacono transcript: MPD believed the record

was “exempt from disclosure” pursuant to the personal privacy exemption provided under FOIA.

Compl. ¶ 23. Plaintiff’s additional vague allegations that MPD’s handling of the transcript request

was “suspicious” does not amount to evidence that MPD intentionally discriminated against her

based on the content or viewpoint of her speech. See id. ¶ 84; id. at 3 (“MPD’s Suspicious

Response to FOIA Requests”).

       Similarly, plaintiff fails to establish a pattern of FOIA violations by describing alleged

incidents of “the watchlist policy in action.” Id. ¶¶ 53–81. Plaintiff describes five incidents of the

watchlist policy allegedly having an adverse effect on MPD’s processing of certain FOIA requests.

See id. ¶¶ 55–72 (alleging that ACLU received a delayed response to its request of “quite

voluminous” stop and frisk data records that are the subject of “extensive litigation”); id. ¶¶ 72–

74 (alleging that a journalist requested stop-and-frisk incident reports and MPD determined that

the reports required redactions that would be “extremely time-consuming”; MPD chose to wait for

the journalist to follow up before completing the request and the journalist did not follow up); id.

¶¶ 75–76 (alleging that MPD declined to produce documents to a journalist because the materials

would make the agency look unprofessional, in violation of FOIA); id. ¶¶ 77–79 (alleging that

MPD redacted a portion of a police incident report for a high-profile event in accordance with

FOIA); id. ¶ 80 (alleging that MPD held its response to a FOIA request from the ACLU for an




from MPD officials (which she received), plaintiff is mistaken. See Compl. ¶ 31. “A Vaughn index,
created by judicial fiat (not the FOIA), is a suggested mechanism to assure adequate adversary
testing of the government’s claimed exemptions and to assist the court in assessing the
government’s position during litigation.” Schotz v. Samuels, 72 F. Supp. 3d 81, 91 (D.D.C. 2014)
(citing Vaughn v. Rosen, 484 F.2d 820, 828 (D.C. Cir. 1973)). A government agency is not required
to produce it “during the administrative process.” Id.

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additional month before release to allow MPD to prepare information that provided context for the

data ACLU requested). In sum, plaintiff only alleges that a watchlist requestor failed to receive

the requested documents twice and only alleges that one of these incidents ran afoul of FOIA

requirements. Id. ¶¶ 75–76. In two other incidents, plaintiff alleges that MPD was delayed in

producing extremely voluminous data in response to high-profile requests. Id. ¶¶ 55–72; 80. And

in another incident, plaintiff does not even allege any adverse impact of MPD’s redaction of an

incident report from a high-profile event; plaintiff merely notes that while FOIA permitted the

redaction, a separate law allowed the requestor to obtain the unredacted document elsewhere. Id.

¶¶ 77–79. At most, these allegations amount to a “handful of incidents” that do not suggest there

is a pattern of adverse treatment. Barnes, 2020 WL 4933600, at *5. 4 Moreover, the fact that certain

FOIA requests—like ones requesting voluminous data related to high-profile issues—may be

treated differently is, again, not evidence of an intent to discriminate on the basis of viewpoint or

content. Indeed, different procedures and responses may be appropriate when the FOIA requests

arise from “sharply contrasting circumstances.” Frederick Douglass Found., 2021 WL 1166841,

at *1. Taken together, plaintiff’s allegations cannot establish the requisite pattern and intent

necessary to state a viewpoint and content discrimination claim.

               3.      Even Assuming Plaintiff’s Allegations Are True, the District’s Interest
                       in Maintaining Any “Watchlist Policy” Would Outweigh the Plaintiff’s
                       Interest in Eliminating It.

       Even if the First Amendment were the appropriate vehicle for plaintiff’s claim and the

Court found that plaintiff plausibly alleges MPD has a policy of discriminating based on content

and viewpoint, plaintiff would still fail to state a claim because “the governmental interest


4
       As explained below in Section III.C, plaintiff’s allegation that there were 20 times when
the watchlist policy was applied between 2017 and the end of 2019 is similarly unpersuasive. See
Compl. ¶ 53.

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outweighs the burden and cannot be achieved through means that do not infringe on First

Amendment rights as significantly.” Legi-Tech, Inc. v. Keiper, 766 F.2d 728, 735 (2d Cir. 1985)

(citing Minneapolis Star & Trib. Co. v. Minnesota Com’r of Revenue, 460 U.S. 575, 586 n.7

(1983)); Fusaro v. Cogan, 930 F.3d 241, 260 (4th Cir. 2019) (“A regulation on access to [a tool

used for communication but not actual speech] can merit First Amendment protection, but not

necessarily heightened scrutiny.”).

       Here, the burden alleged is minimal and outweighed by the governmental interest. As

described above, the process plaintiff alleges MPD follows for FOIA requests related to the

“watchlist” simply involves MPD FOIA staff providing regular updates and information to MPD

leadership. See Section II.B.2, above; Connick v. Myers, 461 U.S. 138, 151–52 (1983) (“When

close working relationships are essential to fulfilling public responsibilities, a wide degree of

deference to the employer’s judgment is appropriate.”). Providing information up the chain of

command to ensure that the Chief of Police is prepared to communicate to the press about high-

profile matters or issues that may be the subject of future litigation is a sensible policy; MPD has

a substantial government interest in providing accurate information to the public, both for its own

sake and for the sake of fostering public confidence in the police force. See Connick, 461 U.S. at

150 (recognizing the “government’s interest in the effective and efficient fulfillment of its

responsibilities to the public”); Shelton Police Union, Inc. v. Voccola, 125 F. Supp. 2d 604, 624–25

(D. Conn. 2001) (finding the government has a substantial interest in ensuring that the police

department’s public statements are approved by department leadership, protecting the

government’s confidential information, and functioning as effectively as possible). Additionally,

the added oversight of MPD leadership has the benefit of ensuring the accuracy and propriety of

the information released in response to a FOIA request, especially those requesting voluminous



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data or of particular interest to the public. This supports MPD’s interest in providing accurate

information to the public.

       Moreover, the burden imposed on the “watchlist” requestors is minimal. Although the

added notifications and involvement of leadership may take some small amount of time by those

processing FOIA requests, there is no allegation that the policy itself demands any particular

outcome that would be unfavorable to those affected by it. See Compl. ¶¶ 38–52.

       Additionally, plaintiff’s own assessment of who is affected by the alleged watchlist policy

and what subject matters trigger MPD’s different internal FOIA procedures shows that the change

in procedure is narrowly tailored to address the purpose underlying it. Plaintiff alleges that

members of the media, attorneys who may bring litigation, and high-profile subject matters all

trigger the additional notifications and involvement of MPD leadership under the policy. Id.

¶¶ 46–47. As discussed above, this makes sense. These requests are the most likely to yield media

questions for the Chief of Police, and it is important for MPD to ensure the accuracy of information

provided in response to these requests and to public inquiries about them.

       In sum, the minimal burden resulting from any watchlist policy would be far outweighed

by the benefits it may create.

III.   Plaintiff Has Failed To Allege That Any Violation of Her First Amendment Rights
       Was Caused by a Municipal Policy or Practice.

       Even assuming plaintiff has adequately alleged a violation of her First Amendment rights,

her claim still should be dismissed because she has failed to allege that the violation was caused

by a municipal policy of the District. “Under 42 U.S.C. § 1983, municipalities can be held liable

for constitutional violations committed by their employees only if a plaintiff shows that the

municipality is the ‘moving force’ behind the constitutional violation, meaning that an ‘official

municipal policy of some nature caused a constitutional tort.’” Hurd v. District of Columbia, 997

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F.3d 332, 337 (D.C. Cir. 2021) (quoting Monell v. Dep’t of Soc. Servs. of N.Y.C., 436 U.S. 658,

691 (1978)). The D.C. Circuit has identified four ways such an official policy can be shown: (1)

the municipality adopts a policy that violates the Constitution; (2) a “policy maker” within the

government takes an unconstitutional action; (3) “the employees’ unconstitutional actions are so

consistent that they have become a custom of the municipality of which the supervising

policymaker must have been aware”; or (4) “deliberate indifference” to the risk of constitutional

violations. Hurd, 997 F.3d at 337 (quoting Baker v. D.C., 326 F.3d 1302, 1306 (D.C. Cir. 2003)).

Each theory of municipal liability has its own elements and, to survive a motion to dismiss, “a

plaintiff must plead the elements of the relevant type of municipal policy.” Blue v. District of

Columbia, 811 F.3d 14, 20 (D.C. Cir. 2015). Here, plaintiff seeks to establish municipal liability

under the first three tests. Plaintiff, however, fails to plausibly allege the elements to support any

of her theories of municipal liability.

       A.      Plaintiff Fails To Allege an Express Municipal Policy.

       Plaintiff alleges that the District “maintains a policy of delaying, burdening, or denying

FOIA requests on the basis of the content and viewpoint of speech that requestors will voice using

the requested information and on the basis of the content and viewpoint of speech that requestors

have voiced in the past.” Compl. ¶ 91. However, establishing the existence of an explicit municipal

policy requires plaintiff to show that “the action that is alleged to be unconstitutional implements

or executes a policy statement, ordinance, regulation, or decision officially adopted and

promulgated by that body’s officers.” Monell, 436 U.S. at 690. Plaintiff essentially concedes the

lack of an express municipal policy when she alleges that former Chief Newsham implemented an

unofficial, unwritten policy at MPD requiring him to be notified when certain individuals made

FOIA requests. Compl. ¶¶ 40–42; see also Tyson v. District of Columbia, Civil Action No. 20-



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1450, 2021 WL 4860685, at *9 (D.D.C. Oct. 19, 2021) (rejecting argument that silence in express

policy could be interpreted as its own express policy and analyzing claim under custom or practice

prong); accord Arashiba v. City of Minneapolis, Civil Action No. 20-579, 2021 WL 3276305, at

*7 (D. Minn. Jan. 21, 2021) (“Courts thus evaluate allegations of an unwritten policy under the

standards used to analyze the sufficiency of a Monell custom claim.”) (citation omitted).

       Further, plaintiff does not seek to remedy a past violation of her rights; plaintiff seeks to

prevent a future violation. Compl. ¶¶ 95–97. But all of plaintiff’s allegations in support of the

existence of an express policy concern actions of former Chief Newsham, who retired from MPD

in January 2021. Id. ¶¶ 40–51. Plaintiff’s sole allegation concerning Chief Contee is that

“[a]ccording to former colleagues of Parker, current Chief of Police Robert Contee has not ended

or suspended the policy.” Id. ¶ 52. That is a quintessential conclusory allegation. Plaintiff’s

reliance on unidentified individuals, who may or may not still work at MPD and who may or may

not have any basis to be aware of how FOIA requests are handled, is pure speculation and cannot

state a claim for municipal liability under the express policy prong. See Iqbal, 556 U.S. at 678.

       B.      Plaintiff Fails To Allege Any Unconstitutional Conduct by a Current
               Policymaker.

       A plaintiff satisfies Monell’s second prong by alleging that “an authorized policymaker

made a one-time decision that resulted in the alleged constitutional deprivation.” Wheeler v.

American Univ., Civil Action No. 20-2735, 2022 WL 160226, at *22 (D.D.C. Jan. 18, 2022)

(citation omitted). Here, plaintiff seeks to satisfy that standard by alleging that the watchlist policy

“was ratified by the Chief of Police, who is a delegated policymaker with respect to the subject of

this suit under D.C. law.” Compl. ¶ 93. Plaintiff’s assertion that the Chief of Police is a delegated

policymaker for how to handle FOIA requests under District law is wrong.

        “The Supreme Court narrowly interprets [the term municipal] ‘policymaker’ for the

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purposes of § 1983 liability, and discretion in a job function is not enough.” Allen-Brown v. District

of Columbia, 54 F. Supp. 3d 35, 42 (D.D.C. 2014) (citing St. Louis v. Praprotnik, 485 U.S. 112,

126 (1988) (O’Connor, J., plurality op.)); see also Singletary v. District of Columbia, 766 F.3d 66,

74 (D.C. Cir. 2014) (holding discretion to make final decisions in individual cases “is insufficient

to create municipal liability [for those decisions] unless the decisionmaker [also] had been granted

final policymaking authority under D.C. Law in the [relevant] area.”). Rather, “an individual must

‘speak with final policymaking authority for the local governmental actor’ as established by state

law.” Allen-Brown, 54 F. Supp. 3d at 42 (quoting Jett v. Dallas Indep. Sch. Dist., 491 U.S. 701,

709 (1989)). “‘[W]hen [according to state law] a subordinate’s decision is subject to review by the

municipality’s authorized policymakers,’ those policymakers ‘have retained the authority to

measure the official’s conduct for conformance with their policies.’” Miner v. District of

Columbia, 87 F. Supp. 3d 260, 266 (D.D.C. 2015) (quoting Praprotnik, 485 U.S. at 127) (emphasis

in original).

        As explained above, the handling of FOIA requests, like those submitted by plaintiff, are

governed by District law, and “[w]hether a particular official has final policymaking authority is a

question of state law and the challenged action must have been taken pursuant to a policy adopted

by the official or officials responsible under state law for making policy in that area of the state’s

business.” Horse, et al. v. District of Columbia, Civil Action No. 17-126, Tr. of Status Conference,

at 62 (Sept. 17, 2019) [68]. As Judge Amy Berman Jackson explained when evaluating similar

allegations, “[w]hile at first blush it would seem logical that the city’s top law enforcement officer

who is alleged to have been personally supervising the MPD response … would qualify, there is

binding precedent that I have to follow that compels the conclusion that he was not.” Id. Just as it

was the case in Horse, it is the case here: “Chief of Police Newsham was constrained by policies



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not of his own making and any decision to depart from those policies was not an act of the

municipality.” Id. at 64.

       And, more generally, under District law, all members of the police force, including the

Chief of Police, are subordinate to the Mayor and (ultimately) the Council, and thus non-

policymakers for purposes of municipal liability. As the Court in Miner explained:

               In the District of Columbia, the Mayor is ultimately responsible for the
               police department, see D.C. Code § 5-101.03, and the Mayor appoints a
               Chief of Police, ‘with the advice and consent of the [City] Council,” D.C.
               Code § 5-105.01(a-1)(1), to administer the police department. All police
               officers are required to “respect and obey the Chief of Police as the head
               and chief of the police force, subject to the rules, regulations, and general
               orders of the Council [ ] and the Mayor [ ].” D.C. Code § 5-127.03.

87 F. Supp. 3d at 266. These provisions establish that all police officers and command officials,

including the Chief, are subordinate to the policymaking authority of the Mayor, as ultimately

constrained by the “rules, regulations, and general orders,” which are within the Council’s purview

to issue. See id. (“Thus, by law, police officers below the level of the Chief of police—and,

arguably, the Chief [himself] … are subordinates [under Supreme Court precedent]”); see also

Coleman v. District of Columbia, 828 F. Supp. 2d 87, 91 (D.D.C. 2011) (holding fire chief and

assistant fire chief are not policymakers for municipal liability purposes because the “Mayor and

the City Council have expressly reserved supervisory powers to themselves”).

       And, as the D.C. Circuit has reminded, “discretion is insufficient to create municipal

liability unless the decision maker had been granted final policy making authority under D.C. law

in the area [at issue in plaintiff’s complaint].” See Singletary, 766 F.3d at 74 (citing Pembaur, 475

U.S. at 480–83 and n.12; Praprotnik, 485 U.S. at 129–30). Here, against the backdrop of the

policies and procedures set forth in FOIA, that authority was lacking. The Chief was constrained

by those policies and procedures when he allegedly implemented the watchlist policy; any alleged



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decision that departed from express District policy was not an act of the municipality for purposes

of Section 1983. See Singletary, 766 F.3d at 74 (“The board thus was ‘constrained by polices not

of [its] making,’ and its decision to ‘depart[ ]’ from those policies by revoking [the plaintiff’s]

parole based on unreliable hearsay was not an ‘act of the municipality’ for purposes of § 1983.”).

Even assuming the Chief could be a policymaker for FOIA purposes, plaintiff fails to allege any

facts showing that the Chief of Police since January 2021 has ratified the purported watchlist

policy. See Compl. ¶ 52. Therefore, plaintiff has failed to allege municipal liability under the

second prong for her requested prospective relief.

       C.      Plaintiff Fails To Allege That MPD Ever Had a Custom or Practice of Treating
               FOIA Requests Differently Based on the Identity of the Requestor.

       To state a claim for liability based on a custom, a plaintiff must allege “concentrated, fully

packed, precisely delineated scenarios” to support his or her allegations that such a policy or

custom exists, Page v. Mancuso, 999 F. Supp. 2d 269, 284 (D.D.C. 2013) (quoting Parker v.

District of Columbia, 850 F.2d 708, 712 (D.C. Cir. 1988)), and that the custom is “pervasive,”

Tabb v. District of Columbia, 605 F. Supp. 89, 96 (D.D.C. 2009). The past events involving

government actions should be identical to the alleged wrongdoing underlying plaintiff’s claim.

Egudu, 72 F. Supp. 3d at 41 (holding report “analyz[ing] data related to disorderly conduct arrests

[but] tailored toward exposing racial disparities” could not show policy or custom of “violat[ing]

an individual’s free speech right or the right to be free from an unlawful seizure”); Hunter v.

District of Columbia, 824 F. Supp. 2d 125, 133–34 (D.D.C. 2011) (holding report could not

evidence municipal custom where “plaintiff was not arrested for the offense examined in the

report”). Plaintiff has failed to plausibly allege facts to plead the elements of this theory of

municipal liability. In support of her custom or practice claim, plaintiff identifies five purportedly

similar examples of the “watchlist policy” being enforced, but these dated and dissimilar events

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fall far short of showing a “pervasive” custom.

       First, as explained above, given that plaintiff’s alleged custom was supposedly

implemented and overseen by former Chief Newsham, and that plaintiff fails to allege any specific

occurrences of the policy occurring under Chief Contee, plaintiff’s custom or practice claim should

fail for that reason alone. But plaintiff’s claim also ignores how many FOIA requests MPD receives

each year. According to plaintiff, Ms. Parker estimates that there were 20 times when the watchlist

policy was applied between 2017 and the end of 2019, Compl. ¶ 53, but from October 1, 2017, to

September 30, 2019, MPD received more than 2,600 FOIA requests. 5 And, from October 1, 2019,

to September 30, 2020, MPD received an additional 1,600 FOIA requests. 6 Given the thousands

of FOIA requests that MPD has received since 2017, plaintiff’s failure to identify any alleged

examples of it occurring over the last two years strongly counsels against finding that plaintiff has

alleged a custom or practice. See, e.g., Peterson v. City of Fort Worth, 588 F.3d 838, 852 (5th Cir.

2009) (“Given the department’s size [of over 1500 officers], and absent any evidence of its total

number of arrests during the same time period, 27 incidents of excessive force over a period of

four years do not reflect a pattern that can be said to represent official policy of condoning

excessive force so as to hold the City liable for the acts of its employees’ unconstitutional

conduct.”); Ramos v. City of Chicago, 707 F. Supp. 345, 347 (N.D. 111. 1989) (“[A]lleging six

incidents of police brutality over a ten[-]year period in a city as large as Chicago with a police

force in excess of 10,000 members is unremarkable, and in no way indicates a policy or custom.”).



5
        See https://os.dc.gov/sites/default/files/dc/sites/os/page_content/attachments/Individual%
20Agency%20FY%202018%20FOIA%20Reports%20updated%202.25.19.pdf;
https://os.dc.gov/sites/default/files/dc/sites/os/publication/attachments/Combined-FY19-FOIA-
Agency-Report.pdf.
6
       See https://os.dc.gov/sites/default/files/dc/sites/coronavirus/release_content/images/FY-
2020-Individual-FOIA-Agency-Reports.pdf.

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       Indeed, it is well settled that the “persistent” and “pervasive” pattern necessary to show

municipal custom cannot be inferred from events with no temporal proximity to the conduct

allegedly giving rise to a Section 1983 plaintiff’s constitutional injury. For example, in Page, the

Court held that plaintiff’s reference to two cases that previously recognized a District policy of

authorizing the complained-of conduct was insufficient to support a claim of municipal liability

and dismissed that claim. 999 F. Supp. 2d at 285–86. The Court in Page noted that the “policy

being addressed [in the earlier cases] was one that existed at least seven years prior,” and the

plaintiff supplied no facts suggesting “the District persisted in its unconstitutional actions.” Id. at

285–86. The Court reached substantially the same result in Egudu v. District of Columbia, 72 F.

Supp. 3d 34 (D.D.C. 2014), by declining to credit as evidence of municipal custom a report,

compilation of statistics, and Court opinion that predated the plaintiff’s alleged injury by six, nine,

and four years, respectively. Id. at 43. Here, the same rationale is dispositive of plaintiff’s claim

of a municipal custom.

                                          CONCLUSION

       For the foregoing reasons, the Court should dismiss plaintiff’s Complaint with prejudice.

Dated: March 11, 2022.                         Respectfully submitted,

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*
       Admitted to the Bar under D.C. App. R. 46-A (Emergency Examination
Waiver). Practicing under the direct supervision of Fernando Amarillas, a member of the D.C. Bar,
pursuant to D.C. App. R. 46-A(d)(2).

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